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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    JANET BATEMAN, #241210
     Assistant Federal Defender
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     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorneys for Defendant
6    JOSEPH ATTAWAY
7

8                              IN THE UNITED STATES DISTRICT COURT
9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                   )   Case No. 1:15-cr-00272 DAD-BAM-3
                                                 )
12                     Plaintiff,                )   STIPULATION TO MODIFY DEFENDANT’S
                                                 )   CONDITIONS OF PRETRIAL RELEASE;
13           vs.                                 )   ORDER
                                                 )
14   JOSEPH ATTAWAY,                             )   Judge: Hon. Barbara A. McAuliffe
                                                 )
15                     Defendant.                )
                                                 )
16

17          IT IS HEREBY STIPULATED by and between the parties hereto, through their

18   respective counsel, MELANIE L. ALSWORTH, Assistant United States Attorney, attorney for

19   the plaintiff, and JANET BATEMAN, Assistant Federal Defender, attorney for defendant,

20   JOSEPH ATTAWAY, that the conditions of his pretrial release in the above-captioned case may

21   be amended to reflect that Mr. Attaway’s conditions may be modified.

22          Mr. Attaway’s doctor and counselor have recommended that he engage in physical

23   exercise for his physical and mental well-being. He requests permission to attend the Brenda

24   Athletic Club in Turlock, California, which is near his home, for physical exercise. All visits to

25   the Brenda Athletic Club would be preapproved by his Pretrial Services Officer.

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1           All other terms and conditions of probation previously imposed shall remain the same.
2    Mr. Attaway’s Pretrial Services Officer, Amaryllis Gonzalez, is in agreement with the proposed
3    changes.
4           Dated: March 22, 2016                       Respectfuly submitted,
5                                                       BENJAMIN B. WAGNER
                                                        United States Attorney
6

7                                                 By:   /s/ Melanie L. Alsworth
                                                        MELANIE L. ALSWORTH
8                                                       Assistant U.S. Attorney
                                                        Attorneys for Plaintiff
9

10          Dated: March 22, 2016                       HEATHER E. WILLIAMS
                                                        Federal Defender
11

12                                                By:   /s/ Janet Bateman
                                                        JANET BATEMAN
13                                                      Assistant Federal Defender
                                                        Attorneys for Defendant
14                                                      JOSEPH ATTAWAY
15

16                                             ORDER
17          The modification of pretrial release set forth in this stipulation IS HEREBY APPROVED.
18

19   IT IS SO ORDERED.
20
        Dated:    March 23, 2016                            /s/ Barbara A. McAuliffe            _
21                                                   UNITED STATES MAGISTRATE JUDGE
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